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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

Kellin Johns and Juan Barron, individually and        )
on behalf of all others similarly situated,           )
                                                      ) Case No. 3:20-cv-00264-DWD
                Plaintiffs,                           )
v.                                                    ) Judge David W. Dugan
                                                      )
Paycor, Inc.,                                         )
                                                      )
                Defendant.                            )


            PAYCOR, INC.’S MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant, Paycor, Inc. (“Paycor”), by and through its undersigned counsel, and pursuant

to the Agreed Confidentiality Order entered December 10, 2020 (Dkt. 49) (“Confidentiality

Order”), respectfully moves this Court for entry of an Order granting Paycor leave to file portions

of its Motion to Strike New Arguments and New Evidence in Plaintiff’s Reply Brief in Support of

Class Certification under seal.

       WHEREFORE, Paycor, Inc. respectfully requests that it be permitted to file portions of its

Defendant’s Motion to Strike New Arguments and New Evidence in Plaintiff’s Reply Brief in

Support of Class Certification under seal.

Dated: January 17, 2025                              Respectfully Submitted,

                                                     PAYCOR, INC.

                                                     By: /s/Melissa A. Siebert

                                                     Melissa A. Siebert
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2025, I caused a true and correct copy of the foregoing

to be electronically filed with the Clerk via the Court’s CM/ECF system, which will notify all

counsel of record.



                                                 /s/ Melissa A. Siebert
